        Case 1:23-cv-00374-DAE Document 27 Filed 06/21/23 Page 1 of 22




                       UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TEXAS
                              AUSTIN DIVISION



ADAM BROWN, on Behalf of Himself and       Case No.: 1:23-cv-00374-DAE
All Others Similarly Situated,

            Plaintiff,
v.
LEARFIELD COMMUNICATIONS, LLC,
SIDEARM SPORTS, LLC, THE
UNIVERSITY OF TEXAS AT AUSTIN,
and THE UNIVERSITY OF TEXAS AT
AUSTIN ATHLETICS,

            Defendants.


            PLAINTIFF’S MEMORANDUM OF LAW IN OPPOSITION TO THE
     UNIVERSITY OF TEXAS AT AUSTIN’S AND THE UNIVERSITY OF TEXAS AT
                  AUSTIN ATHLETICS’ MOTION TO DISMISS




                                       i
             Case 1:23-cv-00374-DAE Document 27 Filed 06/21/23 Page 2 of 22




                                                    TABLE OF CONTENTS

INTRODUCTION ......................................................................................................................... 1

BACKGROUND ........................................................................................................................... 1

ARGUMENT ................................................................................................................................. 4

   A.      The UT Defendants Should Be Enjoined From Their Role In Allowing The VPPA
           Violations And, To The Extent A Waiver Of Immunity Is Needed, The Unique Facts
           Here Warrant That Consideration ...................................................................................... 4

      1.     The Unique Set of Facts Here Support Consideration of A Waiver of Immunity .......... 4

      2.     The Longhorns Website Subscribers Have A Legitimate Expectation Of Privacy ........ 8

   B. The Relief Sought Against The UT Defendants Is Injunctive In Nature ............................ 9

   C. The Operator Defendants’ Purported Obligation To Indemnify the UT Defendants from
      Liability ............................................................................................................................ 13

   D. The VPPA As A Valid Exercise of Congress’ Section 5 Powers ..................................... 15

CONCLUSION ............................................................................................................................ 17




                                                                       ii
            Case 1:23-cv-00374-DAE Document 27 Filed 06/21/23 Page 3 of 22




                                               TABLE OF AUTHORITIES
Cases

Aiello v. Collier,
  2023 U.S. Dist. LEXIS 56624 (S.D. Tex. 2023) ....................................................................... 13

Alden v. Maine,
  527 U.S. 706, 119 S. Ct. 2240 (1999) ....................................................................................... 16

Allen v. Cooper,
  140 S. Ct. 994 (2020) ................................................................................................................ 16

Amazon.com LLC v. Lay,
 758 F. Supp. 2d 1154 (W.D. Wash. 2010) ................................................................................ 17

Brown & Gay Eng'g, Inc. v. Olivares,
  461 S.W.3d 117 (Tex. 2015) ..................................................................................................... 14

Bryant v. Tex. Dep't of Aging & Disability Servs.,
  781 F.3d 764 (5th Cir. 2015) ....................................................................................................... 4

Catalina Dev., Inc. v. Cty. of El Paso,
 121 S.W.3d 704 (Tex. 2003) ....................................................................................................... 5

Ex Parte Young,
  209 U. S. 123, 28 S. Ct. 441, 52 L. Ed. 714 (1908) ................................................................... 10

Fed. Sign v. Texas S. Univ.,
  951 S.W.2d 401 (Tex. 1997) ....................................................................................................... 5

Fitzpatrick v. Bitzer,
  427 U.S. 445, 49 L. Ed. 2d 614, 96 S. Ct. 2666 (1976) ............................................................ 16

Gakuba v. Hollywood Video, Inc.,
 2015 U.S. Dist. LEXIS 132161 (D. Or. 2015) .......................................................................... 12

Green v. Mansour,
 474 U.S. 64, 106 S. Ct. 423, 88 L. Ed. 2d 371 (1985) .............................................................. 12

Hiers v. Bd. of Regents of the Univ. of N. Tex. Sys.,
  2022 U.S. Dist. LEXIS 43617 (E.D. Tex. Mar. 11, 2022) ........................................................ 13

PennEast Pipeline Co., LLC v. New Jersey,
  141 S. Ct. 2244 (2021) .............................................................................................................. 16

Seminole Tribe of Fla. v. Florida,
  517 U.S. 44 (1996) .................................................................................................................... 16


                                                                    iii
            Case 1:23-cv-00374-DAE Document 27 Filed 06/21/23 Page 4 of 22




Sharyland Water Supply Corp. v. City of Alton,
  354 S.W.3d 407 (Tex. 2011) ....................................................................................................... 6

Slayton v. Cheadle,
  2023 U.S. Dist. LEXIS 13275 (S.D. Tex. 2023) ....................................................................... 12

Smith v. Collier,
  2022 U.S. Dist. LEXIS 224101 (S.D. Tex. 2022) ..................................................................... 12

Stamps v. Univ. of Tex. at Austin,
  2022 U.S. Dist. LEXIS 30372 (W.D. Tex. Feb. 22, 2022) ....................................................... 13

Tex. Nat. Res. Conservation Comm'n v. IT-Davy,
  74 S.W.3d 849 (Tex. 2002) ......................................................................................................... 6

Tex. S. Univ. v. State St. Bank & Tr. Co.,
  212 S.W.3d 893 (Tex. App.—Houston [1st Dist.] 2007, pet. denied) ................................ 6, 8, 9

Texas v. United States EPA,
  2023 U.S. Dist. LEXIS 45797 (S.D. Tex. 2023) ....................................................................... 12

Torres v. Texas Dep't of Pub. Safety,
  142 S. Ct. 2455 (2022) .............................................................................................................. 16

Travis v. Reno,
  163 F.3d 1000 (7th Cir. 1998) ................................................................................................... 17

Verizon Md., Inc. v. Pub. Serv. Comm'n of Md.,
  535 U.S. 635 (2002) ............................................................................................................ 10, 12

Statutes

18 U.S.C. § 2710(b)(2)(B) .............................................................................................................. 4

18 U.S.C. § 2710(b)(2)(B)(i)-(ii) .................................................................................................... 4

Other Authorities

S. Rep. No. 100-599 (1988) .................................................................................................. 8, 9, 17

THE FEDERALIST NO. 32 at p. 200 ................................................................................................. 16

THE FEDERALIST NO. 81 at 548-49 (J. Cooke ed. 1961) (Alexander Hamilton) ........................... 16




                                                                   iv
         Case 1:23-cv-00374-DAE Document 27 Filed 06/21/23 Page 5 of 22




                                       INTRODUCTION

       The University of Texas at Austin (“UT Austin”) and The University of Texas at Austin

Athletics (“UT Austin Athletics,” collectively, the “UT Defendants”) argue that Plaintiff’s claims

against the UT Defendants are barred by sovereign immunity. For the reasons set forth below,

The UT Defendants’ motion to dismiss should be denied and the case against the UT Defendants

should proceed.

                                        BACKGROUND

       The University of Texas, Austin (UT) partnered with Learfield Communications, LLC

(“Learfield”) and Sidearm Sports, LLC (“Sidearm” and together with Learfield, “Operator

Defendants”), for the Operator Defendants to build, run, and manage UT’s Longhorns website

(the “Longhorns Website”).1 In reality, the UT Defendants handed over operational control of its

website to the Operator Defendants. Compl. ¶ 143. Operator Defendants’ website design and

operation services used for the Longhorns Website is consistent with the nearly identical services

the Operator Defendants provide to at least 1,100 other college and high school sports teams,

including private and public institutions.2 Part of that website design included hosting videos for

UT and providing email newsletter subscriptions that “deliver official news and updates from UT

Athletics” including “information on upcoming events and promotions; special ticket discounts;




1
  Sidearm Sports Bolsters Relationship with University of Texas Athletics, LEARFIELD (Aug. 15,
2016) https://www.learfield.com/2016/08/sidearm-sports-bolsters-relationship-with-university-
of-texas-athletics/ (last visited June 15, 2023).
2
  Press Release: Sidearm Sports, VenueNext Create New Digital Platform to Help Universities
Elevate Gameday Fan Experience, SIDEARM (May 20, 2020)
https://playbook.sidearmsports.com/partnerships/press-release-sidearm-sports-venuenext-create-
new-digital-platform-to-help-universities-elevate-gameday-fan-experience/ (last visited June 15,
2023); see also Compl. ¶ 33.

                                                1
         Case 1:23-cv-00374-DAE Document 27 Filed 06/21/23 Page 6 of 22




. . . and Texas Longhorns Official Team Shop offers.”3 Email newsletters also contain headlines,

“behind-the-scenes videos and photographs,” ticket on-sale dates, discounts to events, updates for

Longhorn Foundation donors, and season ticket information. See id. ¶¶ 58-60.

       Across its hundreds of team websites,4 Operator Defendants make use of the same code,

implementing the same video streaming platforms. Compl. ¶¶ 58-60. Despite the many available

video streaming platforms, each of Operator Defendants’ websites, including the Longhorns

Website, make use of YouTube and/or CBS to provide video streaming services. Id. Despite

many websites making use of anonymized or obscured video titles in webpage URLs, each of the

Operator Defendants’ websites, including the Longhorns Website, use webpage naming schemes

that identify the content or title of the videos on the websites to make “them more recognizable

by search engines and easier to access . . . .”5 Each of Operator Defendants’ websites contain

code to track user activity and monetize it by providing targeted ads on the websites, including

the Longhorns Website.6 Each of the Operator Defendants’ websites even contain the same




3
  UT Athletics and IMG College/Longhorm Sports Marketing products, TEXAS SPORTS
https://texassports.com/sports/2013/7/25/GEN_0725130745.aspx (last visited June 15, 2023).
4
  Press Release: Sidearm Sports, VenueNext Create New Digital Platform to Help Universities
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new-digital-platform-to-help-universities-elevate-gameday-fan-experience/ (last visited June 15,
2023) (“[Sidearm is] behind more than 1,300 collegiate athletics websites and mobile apps”).
5
  New URL Structure, SIDEARM (Oct. 8, 2019)
https://playbook.sidearmsports.com/features/new-url-structure/ (last visited June 15, 2023).
6
  CBS Interactive Advances Media and Learfield’s Sidearm Sports to Partner in College Sports,
LEARFIELD (Feb. 12, 2018) https://www.learfield.com/2018/02/cbs-interactive-advanced-media-
learfields-sidearm-sports-partner-college-sports/ (last visited June 15, 2023) (“[CBS] and
Learfield’s Sidearm Sports . . . announced a new partnership to jointly produce and operate
more than 1,100 college . . . athletic websites . . . [and] the collaboration [between CBS and
Sidearm] will open up exciting new monetization opportunities for clients and advertisers across
platforms”).

                                                2
          Case 1:23-cv-00374-DAE Document 27 Filed 06/21/23 Page 7 of 22




comment left by a website developer, noting design requirements imposed by the Operator

Defendants’ partnership with CBS. Compl. ¶ 61, figure 5.

         Rather than simply servicing and maintaining the Longhorns Website, the Operator

Defendants own the Longhorns Website and all IP rights contained within. Id. ¶¶ 43-44. The

Operator Defendants retain the ability to cut off UT from its own website, id. ¶ 47, reserve their

own space to advertise their role in creating the Longhorns Website on the Longhorns Website,

id. ¶ 48, the only Terms of Service available to be found on the Longhorns Website are its own

Terms of Service, id. ¶ 49, and take ownership of the website traffic and its associated data. Id. ¶

51.

         In exchange, the Operator Defendants and the UT Defendants profit from the website by

sharing ad revenue generated by the Longhorns Website. Id. ¶ 52. The UT Defendants allow the

Operator Defendants to set their advertising code on the Longhorns Website, which bolsters

advertising effectiveness, including tracking code such as the Facebook Pixel (the “Pixel”). Id. ¶¶

52-53.

         The Pixel tracks user activity and sends reports of that activity, along with the user’s

personally identifiable information (“PII”), to Facebook through an HTTP Request. Id. ¶¶ 78-81.

The tracked activity includes the titles or descriptions of content contained within the webpage,

including audio visual material. After the UT Defendants relinquished any effective control or

oversight on the Operator Defendants’ management of the Longhorns Website, the Operator

Defendants placed the Pixel on pages containing pre-recorded videos. See id. ¶¶ 84-89. These

Pixels cause subscribers’, including Plaintiff’s, PII and video watching history to be shared, in

violation of the VPPA. ¶ 92.

         The VPPA has its own requirements regarding written, informed consent. 18 U.S.C. §


                                                 3
         Case 1:23-cv-00374-DAE Document 27 Filed 06/21/23 Page 8 of 22




2710(b)(2)(B). Such consent must be in a form distinct and separate from any form establishing

other legal or financial obligations of the consumer and at the election of the consumer. 18 U.S.C.

§ 2710(b)(2)(B)(i)-(ii). Despite having ample opportunity to provide subscribers with notice of

the data sharing practices on the Longhorns Website and to obtain consent, subscribers are not

told what data is collected while navigating the Longhorns Website, when those data collections

occur, and how they are shared. Compl. ¶ 144.

       Investigations made by Plaintiff’s counsel have revealed identical VPPA violations

occurring as a result of Operator Defendants’ website design and use of the Pixel on at least 173

of Operator Defendants’ Division I athletics websites. These websites all contain similarly

implemented Pixels that result in subscribers’ Facebook User IDs and video watching histories

being shared with Facebook. See Declaration of Patrick Yarborough, Exhibit A.

                                          ARGUMENT

A.     The UT Defendants Should Be Enjoined From Their Role In Allowing The VPPA
       Violations And, To The Extent A Waiver Of Immunity Is Needed, The Unique Facts
       Here Warrant That Consideration

       The UT Defendants argue that Plaintiff’s claims are barred by sovereign immunity. While

Plaintiff cannot dispute that sovereign immunity is a legal principle that would traditionally shield

a governmental entity from being sued without their consent, immunity is not absolute.7

       1. The Unique Set of Facts Here Support Consideration of A Waiver of Immunity

       Here, the distinctive facts before this Court and the activity by the UT Defendants at issue

(see, e.g., Compl. ¶ 143 explaining that the UT Defendants handed over control of its website to


7
  Specifically, the Eleventh Amendment bars federal “suits against a state, a state agency, or a
state official in his official capacity unless that state has waived its sovereign immunity or
Congress has clearly abrogated it.” Bryant v. Tex. Dep’t of Aging & Disability Servs., 781 F.3d
764, 769 (5th Cir. 2015) (internal quotations and citation omitted).

                                                 4
         Case 1:23-cv-00374-DAE Document 27 Filed 06/21/23 Page 9 of 22




the Operator Defendants) – which serve as the basis that they waived their sovereign immunity –

have not been examined by any Texas court, or by any court in the country for that matter. The

UT Defendants voluntarily participated in activities that are typical of private entities (see, e.g.,

Compl. ¶¶ 18, 19), outside the scope of its governmental functions, and which effectuated the

violation of consumers’ privacy.

       In fact, the UT Defendants’ arrangement with the Operator Defendants pushes the idea of

sovereign immunity to new limits. The alleged conduct is not a traditional, core, or important

governmental function. The UT Defendants relinquished all operational control of the Longhorns

Website to the Operator Defendants. The conduct alleged is prohibited by federal law. And the

UT Defendants appear to have obtained the contractual right to be indemnified and held harmless,

in full, from litigation by the Operator Defendants. Sovereign immunity does not and should not

apply to shield a state from participating in litigation over ongoing unlawful conduct that is

actively permitted by the state, where the function is not governmental, and where the state

intentionally relinquished all operational control over its own asset to private entities, who are

bound to indemnify the state in the suit.

       Further, although the UT Defendants assert immunity under the Federal Constitution, their

conduct falls within that contemplated by the Texas Supreme Court in Federal Sign as

constituting an immunity waiver by conduct under state law. Fed. Sign v. Texas S. Univ., 951

S.W.2d 401, 408 n.1 (Tex. 1997) (“[t]here may be circumstances where the State may waive its

immunity by conduct other than simply executing a contract so that it is not always immune from

suit when it contracts.”); see also Catalina Dev., Inc. v. Cty. of El Paso, 121 S.W.3d 704, 705

(Tex. 2003) (recognizing that the Federal Sign opinion suggests circumstances that might warrant

recognizing a waiver by conduct). In Tex. S. Univ. v. State St. Bank & Tr. Co., 212 S.W.3d 893,



                                                 5
        Case 1:23-cv-00374-DAE Document 27 Filed 06/21/23 Page 10 of 22




907 (Tex. App.—Houston [1st Dist.] 2007, pet. denied), the First Court of Appeals found that

immunity was waived when a governmental entity induced a private party into contract with

promises that a contract would be valid and enforceable, and then disclaimed obligation for $13

million in equipment and services it received by declaring that contract was not valid after all.

State St., 212 S.W.3d at 908. In other words, the court found that Texas Southern University had

waived its right to immunity. The University’s own conduct effectuated the waiver.

       Plaintiff is not suggesting that this Court ignore precedent against the application waiver

by conduct.8 And Plaintiff is not suggesting the UT Defendants committed acts of fraud or took

nefarious steps to purposefully steal the private information of users and subscribers of the

Longhorns Website. The facts here, are, however unique and extraordinary in that UT Defendants

turned a blind eye, relinquished control of its website, and secured indemnity rights against the

Operator Defendants, who then handed over Plaintiff’s and subscribers’ private information to a

third party. Additionally, the UT Defendants failed to implement or enforce safeguards in order

to prevent the unlawful sharing of its subscribers’ information.

       For example, the Longhorns Website provides users with access to video content related

to the university’s athletics, including pre-recorded clips of games, interviews with players and

team staff, sport analysis, and more. Compl. ¶ 2. The Complaint alleges, and the motion to

dismiss does not refute, that Defendants employed the Pixel on the Longhorns Website, the Pixel

caused Plaintiff’s and Class Members’ PII and Video Watching Data to be shared with Facebook,




8
  For example, Plaintiff recognizes that the Texas Supreme Court has rejected the invitation to
recognize a waiver-by-conduct exception in Tex. Nat. Res. Conservation Comm'n v. IT-Davy, 74
S.W.3d 849, 857 (Tex. 2002) and Sharyland Water Supply Corp. v. City of Alton, 354 S.W.3d
407, 414 (Tex. 2011), albeit in the breach-of-contract context involving vendor disputes with the
government. IT-Davy, 74 S.W.3d at 854.


                                                6
        Case 1:23-cv-00374-DAE Document 27 Filed 06/21/23 Page 11 of 22




and that Defendants did not obtain Plaintiff’s consent for this disclosure in violation of the VPPA.

The UT Defendants operationally relinquished control of its website to the Operator Defendants.

Id. ¶ 143. The UT Defendants failed to implement oversight controls, or failed to enforce controls

or its purported contractual rights9, over the Operator Defendants’ implementation and operation

of the Longhorns Website. Id. ¶¶ 44-49; 52; 61-63. That failure led to the violations of the

privacy rights of subscribers to the Longhorns Website. Id. ¶¶ 83-92. Despite those privacy

violations, the UT Defendants continue to sit idly while the Operator Defendants surreptitiously

track, store, and share the Longhorns Website’s subscribers’ PII. In fact, in response to Plaintiff’s

claim and this litigation,10 rather than take steps to ensure that the Operator Defendants are in

compliance with the law, the UT Defendants – without denying or refuting past or ongoing VPPA

violations – seek a blanket immunity.

       Operator Defendants disregard their and the UT Defendants’ obligations under the

VPPA.11 They chose to employ tracking tools, loaded the tracking methods (including the

Facebook Pixel) onto the Longhorns Website, and then facilitated the sharing of subscribers’ PII

with a third party in a form in which could be used to identify subscribers and subscribers’ PII by

any ordinary person who comes into possession of that information. Through the overt act of

handing over control of its website to the Operator Defendants who then violated the VPPA,


9
   In the Learfield-College Agreement (defined below), the Operator Defendants contractually
obligated themselves to act “in accordance with the highest standards and commercial practices
for operation of an intercollegiate athletics marketing” and further provides for the university to
terminate the Learfield-College Agreement for violations by the Operator Defendants of “state,
federal or local law.” See infra § C.
10
    Plaintiff sent a preliminary suit notice and demand letter regarding these potential violations of
18 U.S.C. § 2710 on February 17, 2023.
11
    The Operator Defendants were put on notice of the VPPA violations associated with its
operation of its team websites as early as March 31, 2023, when subscribers of the University of
Florida Gators Website filed suit against Operator Defendants. See Edwards et al. v Learfield
Communications, LLC, et al., Case No. 1:23-cv-00065 (N.D. Fla.).

                                                  7
            Case 1:23-cv-00374-DAE Document 27 Filed 06/21/23 Page 12 of 22




factual circumstances unlike any precedent exists here, with a combination of facts and

circumstances that give rise to a consideration of a waiver of immunity by the UT Defendants.

See State St., 212 S.W.3d at 907.

        2. The Longhorns Website Subscribers Have A Legitimate Expectation Of Privacy

        The Longhorns Website subscribers have a legitimate expectation of privacy and the UT

Defendants’ conduct violated those rights. A violation of those rights is not something to be taken

lightly. Throughout the 1970s and 1980s, Congress passed and amended a series of statutes with

the intent of extending privacy protections to “records that contain information about

individuals.” S. Rep. No. 100-599 at 2 (1988). After amending a privacy statute to update and

expand the information protected by legislation, a congressionally created commission concluded

that, moving forward, national information policies should (i) minimize intrusiveness, (ii)

maximize fairness, and (iii) create legitimate, enforceable expectations of confidentiality. Id. To

further advance privacy policy legislation, the commission recommended establishing duties to

not disclose confidential records of individuals without their consent, except in limited

circumstances, for organizations which maintained confidential records. Id. at 2-3.

        Such duties were increasingly crucial in an era of computerized record gathering, where

it would be “relatively easy at some point to give a profile of a person and tell what they buy in a

store, what kind of food they like, [and] what sort of television programs they watch[.]” Id. at 5-

6. While seemingly innocuous individually, pooling these types of information created privacy

interests that directly affected the ability of people to freely express themselves, freely associate

with others, or otherwise partake in the freedoms and independence enshrined in the Constitution.

Id. at 7.

        In an even more exhaustive effort to prevent parts of people’s lives from being pieced


                                                 8
          Case 1:23-cv-00374-DAE Document 27 Filed 06/21/23 Page 13 of 22




together, Congress passed legislation which tried to guard against the disclosure of people’s

private information. In 1988, in response to a Supreme Court nominee having his, and his

family’s, video rental history being published in a Washington-based paper, Congress passed the

Video Privacy Protection Act. See Compl. ¶ 25. The VPPA was established to create a duty of

confidentiality when handling information that ties the identity of a person to their video watching

habits.

          Here, the Operator Defendants completely disregard both their and the UT Defendants’

obligation under the VPPA by loading the tracking methods, including the Facebook Pixel, onto

the Longhorns Website and facilitating the sharing of subscribers’ PII with third parties for any

ordinary person to access and use. Through the overt act of handing over control of its website

to the Operator Defendants who then violated the VPPA, factual circumstances unlike any

precedent exists here, with a combination of facts and circumstances that give rise to a waiver of

immunity by the UT Defendants. See State St., 212 S.W.3d at 907. The Longhorns Website users

are individuals who had a legitimate expectation of privacy and the UT Defendant’s conduct

violated those rights.

          The VPPA plays a vital role in safeguarding individuals’ privacy rights in the realm of

video consumption, and the UT Defendants completely disregarded those protections when it

relinquished control over its Longhorns Website to the Operator Defendants. Accordingly, given

the unique and extraordinary circumstances surrounding the facts of this case, it would be

reasonable for the Court to determine that the UT Defendants waived their sovereign immunity.

B.        The Relief Sought Against The UT Defendants Is Injunctive In Nature

          It is well-established that Eleventh Amendment sovereign immunity does not shield states

from injunctive relief to stop ongoing and future violations of federal law. Verizon Md., Inc. v.



                                                 9
        Case 1:23-cv-00374-DAE Document 27 Filed 06/21/23 Page 14 of 22




Pub. Serv. Comm'n of Md., 535 U.S. 635, 645 (2002) (“[Waiver of soverign immunity] is another

question we need not decide, because-as the same parties also argue-even absent waiver, Verizon

may proceed against the individual commissioners in their official capacities [for violation of the

Telecommunications Act of 1996]”) (citing Ex parte Young, 209 U.S. 123 (1908)).12

       In Defendants Learfield Communications, LLC’s And Sidearm Sports’ Motion to

Dismiss, see Dkt. No. 24 (the “Operator Defendants’ MTD”), the Operator Defendants admit that

the “UT Defendants are necessary parties because Plaintiff’s claims concern allegedly concerted

conduct by the UT Defendants and Learfield, which allegedly produced a singular purported

statutory violation.” Operator Defendants’ MTD at 5. The Operator Defendants argue that:

       [W]ithout UT Defendants, the Court cannot accord complete relief, and Learfield
       would face a substantial risk of incurring double or otherwise inconsistent
       obligations, which would be very prejudicial to Learfield and could not be lessened
       or avoided. Further, the UT Defendants have an interest in the content and
       functionality of their own website and the information that is allegedly collected
       via the Facebook Pixel, and that interest would be impaired in their absence.”

Id. In an attempt to convince the Court that it should dismiss claims against the Operator

Defendants, the Operator Defendants in turn admit that the claims against the UT Defendants

should move forward.




12
  If this Court determines that only a claim for injunctive or declaratory relief against an
individual state official most responsible for enforcing the law in question can be sustained, see
Ex Parte Young, 209 U. S. 123 at 155-156, Plaintiff requests leave to amend the Complaint to
name as a defendant the individual responsible for enforcing the contract between the Operator
Defendants and the UT Defendants. For example, the Learfield-College Agreement, defined
infra, includes as a signatory the individual who presumably is responsible for enforcing the
agreement. In this case, discovery is needed to obtain the agreement between the Operator
Defendants and the UT Defendants, but once obtained, Plaintiff can amend the complaint to
name the individual who signed the agreement on behalf of the UT Defendants and/or the
individual who is the registrant of the domain of the Longhorns Website (Mr. Craig
Westemeier, Senior Associate Athletic Director at the University of Texas Office of Brands,
Trademarks and Licensing).

                                                10
        Case 1:23-cv-00374-DAE Document 27 Filed 06/21/23 Page 15 of 22




       Plaintiff does not agree that UT Defendants are “necessary parties” in the manner

described by the Operator Defendants in their Motion to Dismiss. In fact, it is the Operator

Defendants’ placement of the Pixel on the Longhorns Website without obtaining the required

consent that is the basis for Plaintiff’s claims. It is the Operator Defendants that will ultimately

incur the costs associated with this litigation, either directly (for causing and effectuating the

VPPA violations) or indirectly (due to the purported indemnity obligation they have to the UT

Defendants).13

       Plaintiff’s position, however, is that the UT Defendants’ involvement in this litigation is

meaningful, at minimum, for the injunctive relief sought here. Plaintiff seeks injunctive relief

ordering the (i) removal of the Pixel from the Longhorns Website, or (ii) the UT Defendants to

stop permitting the operation of the Longhorns Website without appropriate notice to and consent

from subscribers.    The UT Defendants are responsible for the oversight of the Operator

Defendants’ operations of the Longhorns Website and are the entities that can cause the Operator

Defendants to stop violating the VPPA. Without the UT Defendants’ oversight, the Operator

Defendants have and continue to violate the privacy rights of Plaintiff and the absent class

members. Cf Gakuba v. Hollywood Video, Inc., 2015 U.S. Dist. LEXIS 132161, at *13 (D. Or.

2015) (finding that the plaintiff did not waive sovereign immunity, but noted that “the record does

not include any plausible allegation that demonstrates a reasonable likelihood that the government




13
   It is unsurprising that the Operator Defendants seek to benefit from whichever direction to
Court steers the sovereign immunity discussion. The Operator Defendants appear to hedge
against the hopes that this Court finds sovereign immunity for the UT Defendants, and now seek
to extend that immunity to themselves. See Operator Defendants’ MTD at 3-4.



                                                11
           Case 1:23-cv-00374-DAE Document 27 Filed 06/21/23 Page 16 of 22




will again illegally obtain Plaintiff’s ‘personally identifiable information’” so that injunctive relief

was no longer available).

          “[S]overeign immunity will protect the state or state official only when the claims are

based on past actions and past violations of federal law rather than ongoing actions and continuing

violations.” Smith v. Collier, 2022 U.S. Dist. LEXIS 224101, at *6 (S.D. Tex. 2022); citing Green

v. Mansour, 474 U.S. 64, 73, 106 S. Ct. 423, 88 L. Ed. 2d 371 (1985); see also Slayton v. Cheadle,

2023 U.S. Dist. LEXIS 13275, at *7 (S.D. Tex. 2023). While a defendant-State generally enjoys

sovereign immunity from monetary damages, Ex Parte Young allows for injunctive relief to

address irreparable harm, i.e., future disclosures of subscribers’ PII stemming from the Longhorns

Website in violation of the VPPA. See Texas v. United States EPA, 2023 U.S. Dist. LEXIS 45797,

at *26 (S.D. Tex. 2023).

          To determine whether the plaintiff's claims are barred by sovereign immunity, “a court

need only conduct a straightforward inquiry into whether the complaint alleges an ongoing

violation of federal law and seeks relief properly characterized as prospective.” Collier, at *6;

citing Verizon, 535 U.S. 635, 645 (2002). Plaintiff’s claims here relate to violations of the Federal

VPPA statute and, as to the UT Defendants, call for the UT Defendants to assume its

responsibility, and contractual rights14, to stop the Operator Defendants from surreptitiously

tracking, storing, and sharing the PII of subscribers to the Longhorns’ Website. See Aiello v.

Collier, 2023 U.S. Dist. LEXIS 56624, at *16 (S.D. Tex. 2023) (“Plaintiff's request for

declaratory relief is not barred by sovereign immunity.”)

          Because it is the UT Defendants who are responsible for letting the Operator Defendants

operate their Longhorns Website, UT Defendants’ involvement is injunctive in nature, and their


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     See infra, § C.

                                                  12
        Case 1:23-cv-00374-DAE Document 27 Filed 06/21/23 Page 17 of 22




inclusion would afford Plaintiff and the putative class members prospective relief that would

otherwise not be available to them. Plaintiff’s prospective, injunctive relief against the UT

Defendants should, therefore, survive. See Hiers v. Bd. of Regents of the Univ. of N. Tex. Sys.,

2022 U.S. Dist. LEXIS 43617, at *14-15 (E.D. Tex. Mar. 11, 2022); Stamps v. Univ. of Tex. at

Austin, 2022 U.S. Dist. LEXIS 30372, at *23 (W.D. Tex. Feb. 22, 2022).

C.     The Operator Defendants’ Purported Obligation To Indemnify the UT Defendants
       from Liability

       At this stage of this litigation, Plaintiff’s allegations are premised on only publicly

available information. Plaintiff can establish that, by all accounts, the Operator Defendants have

complete control over the Longhorns Website. Plaintiff can establish that the Longhorns Website

shared subscribers’ PII and web watching in violation of the VPPA. Plaintiff can establish that

the Longhorns Website did not notify subscribers that their activity would be tracked and shared,

and that consent was not offered to or obtained from any subscribers with regard to the website’s

tracking and sharing of video watching history along with subscribers’ PII.

       Plaintiff cannot, however, establish the precise contractual terms between the Operator

Defendants and UT Defendants. But even at this early stage, Plaintiff has reason to believe that

the agreements between the UT Defendants and the Operator Defendants contain an

indemnification clause that states the Operator Defendants will hold the UT Defendants harmless.

       As part of the investigation performed on behalf of Plaintiff, agreements between the

Operator Defendants and other universities, including University at Buffalo and University of

Colorado Boulder, were obtained through Freedom of Information Law and Open Record Act

requests. See Declaration of Patrick Yarborough, ¶ 3. For example, attached as Exhibit B to the

Yarborough Declaration is the Intercollegiate Athletic Marketing, Media Property, Agent

Services, and Sponsorship Rights Agreement between Defendant Learfield Communications,


                                               13
        Case 1:23-cv-00374-DAE Document 27 Filed 06/21/23 Page 18 of 22




LLC and the State University of New York (“Learfield-College Agreement”). To the extent

similar or exact language exists between the Operator Defendant and UT Defendants, it is worth

examining Learfield-College Agreement. For the sake of discussion, Plaintiff presumes similar

provisions contained in the Learfield-College Agreement apply to UT and Operator Defendants.

        To start, the Learfield-College Agreement contains an “Indemnification” provision,

including a hold harmless provision calling for the Operator Defendants to pay defense and

liability costs to the university. The provision on indemnity covers “all damages, claims, losses,

charges, actions, suits, or proceedings” and provides for expenses “including but not limited to,

reasonable counsel fees.” See Exhibit B at 7. The application of the provision signifies that the

UT Defendants would not be responsible for any judgment, settlement or payment incurred in

connection with this litigation. This case, while properly brought against both sets of defendants

will, in the end, not result in costs or payments by the State or a state entity, which is an important

factor for the Court to consider in its analysis of whether the UT Defendants should remain in this

case. See, e.g., Brown & Gay Eng'g, Inc. v. Olivares, 461 S.W.3d 117, 123 (Tex. 2015) (noting

that sovereign immunity was designed to guard against expenditures associated with defending

lawsuits and paying judgments “that could hamper government functions” by diverting funds

from their allocated purposes).

        The Learfield-College Agreement further contains “form” language calling for the

Operator Defendants to comply with high commercial practices and standards and adherence with

state, federal or local law. The Learfield-College Agreement affords the university termination

rights for such violations. See Exhibit B at 5. The application of that provision here demonstrates

that the UT Defendants can, and should, take action with respect to the Operator Defendants’

privacy violations of subscribers to the Longhorns Website.



                                                  14
        Case 1:23-cv-00374-DAE Document 27 Filed 06/21/23 Page 19 of 22




        The Learfield-College Agreement also stresses the protection of data and calls for

nonpublic personal information of individuals (e.g., name, address, telephone numbers, e–mail

addresses) to be kept confidential, and that the Operator Defendants will not use, provide, or sell

that information to third parties. Id. at 9-10.

        While discovery is needed to know the extent to which the UT Defendants will be

indemnified for the claims at issue in this case, it is unlikely that should the UT Defendants remain

in the case they will be held liable and financially responsible for the claims at issue here.

Plaintiffs merely seek to keep the UT Defendants in the case for purposes of obtaining injunctive

relief. From an injunctive relief perspective, the UT Defendants are in the position to force the

Operator Defendants to come into compliance with the VPPA. See supra § B.

D.      The VPPA As A Valid Exercise of Congress’ Section 5 Powers

        Not addressed by the UT Defendants is the rule that Congress can make laws authorizing

private suits for money judgments against nonconsenting States pursuant to its enforcement

power under Section 5 of the Fourteenth Amendment. Alden v. Maine, 527 U.S. 706, 756, 119 S.

Ct. 2240, 2267 (1999) (citing Fitzpatrick v. Bitzer, 427 U.S. 445, 49 L. Ed. 2d 614, 96 S. Ct. 2666

(1976)).15



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  Nor do they address the rule that sovereign immunity does extend where the States agreed in
the “plan of the Convention” that their immunity would yield to federal control. Torres v. Texas
Dep't of Pub. Safety, 142 S. Ct. 2455, 2461–65 (2022); The Federalist Nos. 32 at p. 200 & 81 at
548-49 (J. Cooke ed. 1961) (A. Hamilton) (“where the Constitution in express terms granted an
exclusive authority to the Union; where it granted in one instance an authority to the Union and
in another prohibited the States from exercising the like authority; and where it granted an
authority to the Union, to which a similar authority in the States would be absolutely and
totally contradictory and repugnant”). Either or both exceptions apply here. See PennEast, 141
S. Ct. at 2263 (clarifying the “plan of the Convention” exception to encompass federal dominion
over “telecommunications infrastructure”).


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        Case 1:23-cv-00374-DAE Document 27 Filed 06/21/23 Page 20 of 22




       The powers given to Congress over states in the Fourteenth Amendment “fundamentally

altered the balance of state and federal power.” Seminole Tribe of Fla. v. Florida, 517 U.S. 44,

59 (1996). Congress can abrogate state sovereign immunity by passing laws that are “tailored to

‘remedy or prevent’ conduct infringing the Fourteenth Amendment’s substantive prohibitions.”

Allen v. Cooper, 140 S. Ct. 994, 1004 (2020). “[T]o deter those violations, it can allow suits

against States for “a somewhat broader swath of conduct,” including acts constitutional in

themselves. Id. Congress must speak with “requisite clarity” to abrogate immunity. PennEast

Pipeline Co., LLC v. New Jersey, 141 S. Ct. 2244, 2262 (2021) (“[A] clear statement is required

to subject States to suit in the waiver and [Section 5] abrogation contexts.”).

       The VPPA clearly abrogates state sovereign immunity in enacting substantive protections

for the individual rights protected by Section 1 of the Fourteenth Amendment, in particular the

right of privacy. The 100th Congress wrote into the text (and name) of the VPPA that its purpose

is to “preserve personal privacy with respect to the . . . delivery of video tapes or similar audio

visual materials.” The accompanying Senate report says that the VPPA “define[s] the right of

privacy by prohibiting unauthorized disclosure of personal information held by video tape

providers” and “give[s] meaning to the right of privacy.” S. REP. NO. 100-599, at 2 & 7 (1988)

(submitted by Sen. J. Biden). The VPPA’s text and history both reflect an appreciation for the

effect of technology in creating “privacy interests that directly affect the ability of people to

express their opinions, to join in association with others, and to enjoy the freedom and

independence that the Constitution was established to safeguard.” Id. at 6-7.

       The VPPA’s basis in Section 5 is reflected in the fact that no state, before now, has ever

tried to assert sovereign immunity from the VPPA in the 35 years since its passage. In fact, other

states freely concede they are bound by the VPPA. See, e.g., Travis v. Reno, 163 F.3d 1000, 1004



                                                16
        Case 1:23-cv-00374-DAE Document 27 Filed 06/21/23 Page 21 of 22




(7th Cir. 1998) (“Wisconsin conceded at oral argument that if the state operated a video tape

rental service it would be required to comply with § 2710 [of the VPPA]”). And no courts contest

that the VPPA may be used offensively by criminal defendants in state prosecutions to exclude

evidence unlawfully obtained. See Amazon.com LLC v. Lay, 758 F. Supp. 2d 1154, 1170 (W.D.

Wash. 2010).

        The text, history, and application of the VPPA makes clear that the 100th Congress, when

it passed the VPPA, intended to exercise its authority under Section 5 of the Fourteenth

Amendment. The UT Defendants, even if they are arms of the state, are therefore not immune

from this suit.

                                         CONCLUSION

        For the reasons set forth above, the UT Defendants’ Motion to Dismiss should be denied.

Alternatively, to the extent any portion of the Motion is granted, Plaintiff requests leave to amend.




                                                 17
       Case 1:23-cv-00374-DAE Document 27 Filed 06/21/23 Page 22 of 22




Dated: June 21, 2023

                                   Respectfully submitted,


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                                     18
